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                                      DECLARATION OF BEHROUZ S. ARANI
     2             I, Behrouz S. Arani, declare as follows:
     3             1.       I am an attorney duly licensed and entitled to practice in the State of
     4   California and before this honorable Court. I am associated with Lehrman Law
     5   Group, attorneys of record for defendant in this matter. I am personally familiar
     6   with the facts set forth herein and if called as a witness in this case, I could and
     7   would competently testify hereto.
     8             2.       The facts set forth in the foregoing Memorandum are true and correct.
     9             3.       The exhibits attached hereto are true and correct copies of the
    10   documents. Specifically, a true and correct copy of email correspondence between
    11   plaintiffs and defendant's counsel is attached hereto as Exhibit A. Further, a true
    12   and correct copy of BMW NA's Offer of Judgment of July 10, 2018 is attached as
    13   Exhibit B. Finally, a true and correct copy of plaintiffs counsel's settlement
    14   demand email of June 14, 2018 is attached hereto as Exhibit C.
    15            4.        There were no depositions, no vehicle inspections, no discovery
    16   disputes, and no dispositive motions in this case. The matter involved only one
    17   court hearing. No discovery referee was appointed; no JDC was conducted; and no
    18   Court-mandated settlement conferences were scheduled or completed.
    19            I declare under penalty of perjury under the laws of the State of California
    20   that the foregoing is true and correct.
    21            Executed this 29th day of October, 2018 at Los Angeles, California.

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    23                                                Isl Behrouz S. Arani
                                                      Behrouz S. Arani
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          MORANDUM OF POINTS AND AUTHORITIES OF DEFENDANT BMW OF NORTH AMERICA, LLC
         IN OPPOSITION TO PLAINTIFF'S MOTION FOR ATTORNEYS' FEES AND COSTS; DECLARATION
                                        OF BEHROUZ S. ARANI
